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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 MATTHEW PITTARD and
 MATTHEW ALLENDE,

                        Plaintiffs,
                                                    CASE NO: 8:19-cv-01784-TPB-AAS
             v.

 H.E. SHEIKH KHALID BIN HAMAD
 BIN KHALIFA AL THANI, et al.

                        Defendants.

_________________________________/

                         AL ANABI RACING USA LLC’S
                      MOTION TO DISMISS PLAINTIFFS’
                AMENDED COMPLAINT FOR LACK OF PERSONAL
           JURISDICTION AND INCORPORATED MEMORANDUM OF LAW

       Defendant Al Anabi Racing LLC (“Al Anabi”), pursuant to Rule 12(b)(2), moves to

dismiss Plaintiffs’ Amended Complaint for lack of personal jurisdiction.

                                        INTRODUCTION

       Plaintiffs Matthew Pittard and Matthew Allende (“Plaintiffs”) have alleged no facts

whatsoever to support this Court’s jurisdiction over Al Anabi. The Amended Complaint’s only

purported jurisdictional allegation is that one of the Plaintiffs is a Florida resident. Nothing more.

       It is well-established that “in order to subject a defendant to a judgment in personam, if he

be not present within the territory of the forum, he [must] have certain minimum contacts with it

such that the maintenance of the suit does not offend ‘traditional notions of fair play and substantial

justice.’” Int’l Shoe Co. v. State of Wash., Office of Unemployment Comp. & Placement, 326 U.S.

310, 316 (1945) (citations omitted).
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       Contrary to this settled jurisdictional jurisprudence, Plaintiffs failed to plead any facts to

establish personal jurisdiction or even provide a factual framework under which this Court could

analyze personal jurisdiction. Indeed, other than an unsupported conclusory allegation in a single

paragraph, Plaintiffs include no jurisdictional facts that connect Al Anabi to Florida. Plaintiffs do

not allege that they were injured in Florida, nor do they allege any facts regarding Al Anabi’s

contacts with the state. The Amended Complaint is devoid of facts that could—even when

analyzed in the light most favorable to Plaintiffs—show that the purported injury or other conduct

alleged even occurred in Florida.

       Under well-established principles of personal jurisdiction, Plaintiffs’ pleading failures are

fatal. The Amended Complaint should be summarily dismissed because Plaintiffs’ allegations are

patently inadequate to submit Al Anabi to this Court’s jurisdiction. Accordingly, this Court should

dismiss Plaintiffs’ Amended Complaint.

                                              FACTS

       Plaintiffs filed their initial complaint on July 23, 2019 (the “Initial Complaint”), alleging

violations of the Fair Labor Standards Act and various Florida and California laws. (DE No. 1).

Notwithstanding Plaintiffs’ bare legal conclusion that this Court has personal jurisdiction over all

Defendants (Compl. ¶ 6), the only factual reference to Florida in the Initial Complaint was the

allegation that Plaintiff Pittard is a Florida resident. See Compl. ¶ 8. Al Anabi was not named as

a defendant in the Initial Complaint.

       Prior to effectuating service on Al Anabi, Plaintiffs were granted leave to file an Amended

Complaint (“Amended Complaint”) (DE No. 16). The Amended Complaint is identical to the

Initial Complaint except that it adds Al Anabi as a defendant (DE No. 18). As with the Initial

Complaint, the only factual allegation in the Amended Complaint that refers to Florida is that only

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one Plaintiff Pittard, is a Florida resident. See Am. Compl. ¶ 8. Plaintiffs’ formulaic recitation of

personal jurisdiction (Am. Compl. ¶ 6) is not buttressed by any factual allegations sufficient to

establish a basis for personal jurisdiction over Al Anabi.

       On its face, the Amended Complaint fails to plead facts to support personal jurisdiction.

Plaintiffs do not allege facts evincing that their claims against Al Anabi (or, for that matter, any

other defendant) arise out of Al Anabi’s contacts with Florida. Plaintiffs are not and never were

employees of Al Anabi (see Declaration of Don Greenbaum (“Greenbaum Dec.”) ¶¶ 8, 9),1 and

none of the causes of action are alleged to arise from Al Anabi’s contacts with Florida. The

Greenbaum Dec. is attached hereto as “Exhibit A.” Plaintiffs, who claim that Al Anabi employs

them, do not make any allegations in the Amended Complaint regarding Al Anabi’s general

contacts with Florida, which are extremely limited.

       Al Anabi is not incorporated in Florida and does not have its principal place of business in

Florida. Greenbaum Dec. ¶¶ 5, 6. Al Anabi does not have any affiliates, related business entities,

beneficiaries, subsidiaries, successors, successors-in-interest, agents, or assignees in Florida

(Greenbaum Dec. ¶ 11); Al Anabi has not designated an agent in Florida for service of process

(Greenbaum Dec. ¶ 12); Al Anabi does not own, lease or control real property in Florida

(Greenbaum Dec. ¶ 13); Al Anabi has no office or operations or facilities in Florida (Greenbaum

Dec. ¶ 14); Al Anabi has no licenses or certifications in Florida (Greenbaum Dec. ¶ 15); Al Anabi

has had no litigation in Florida prior to this case (Greenbaum Dec. ¶ 16); Al Anabi has had no

phone or fax listings with a Florida number (Greenbaum Dec. ¶ 17); Al Anabi has never had




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        “[T]he defendant may challenge the allegations of jurisdiction with evidence.” RMS
Titanic, Inc. v. Zaller, 978 F. Supp. 2d 1275, 1299 (N.D. Ga. 2013) (citing Diamond Crystal
Brands, Inc. v. Food Movers Int'l, Inc., 593 F.3d 1249, 1257–58 (11th Cir.2010)).
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officers or directors located in Florida (Greenbaum Dec. ¶ 18); Al Anabi has no bank accounts in

Florida, nor has it originated or closed loans in Florida (Greenbaum Dec. ¶ 19); Al Anabi does not

pay or owe taxes in Florida (Greenbaum Dec. ¶ 20); Al Anabi’s corporate decision-making and

strategy does not take place in Florida (Greenbaum Dec. ¶ 21); Al Anabi has no contracts with

Florida-based entities or persons (Greenbaum Dec. ¶ 22); Al Anabi does not register or maintain

any property in Florida (Greenbaum Dec. ¶ 24); and Al Anabi has no employees in Florida

(Greenbaum Dec. ¶ 25). Al Anabi’s only contact with Florida is limited to its sponsorship of

racing teams that participate in one race per year in the state. Greenbaum Dec. ¶ 23. Accordingly,

Plaintiffs have not alleged and cannot demonstrate that Al Anabi’s contacts with Florida are even

arguably “so continuous and systematic as to render them essentially at home in the forum State,”

as is required to establish jurisdiction. See Daimler AG v. Bauman, 571 U.S. 117, 127 (2014).

                                          ARGUMENT

       A. Legal Standard

        “A plaintiff seeking the exercise of personal jurisdiction over a nonresident defendant

bears the initial burden of alleging in the complaint sufficient facts to make out a prima facie case

of jurisdiction.” Diamond Crystal Brands, Inc. v. Food Movers Int'l, Inc., 593 F.3d 1249, 1257

(11th Cir. 2010) (quoting United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009));

see also Abramson v. Walt Disney Co., 132 Fed. Appx. 273, 275 (11th Cir. 2005) (holding that

“[a]bsent an evidentiary hearing on a motion to dismiss for want of personal jurisdiction, the

district court must first determine that the plaintiff has established a prima facie case of personal

jurisdictional over the nonresident defendant which is capable of withstanding a directed verdict

motion.”). “When jurisdiction is based on a federal question arising under a statute that is silent

regarding service of process, Rule 4(e) of the Federal Rules of Civil Procedure directs us to look

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to the state long-arm statute in order to determine the existence of personal jurisdiction.”2

Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 626–27 (11th Cir. 1996).

       “Since the extent of the long-arm statute is governed by Florida law, federal courts are

required to construe it as would the Florida Supreme Court.” Id. at 627 (quotation omitted).

“Absent some indication that the Florida Supreme Court would hold otherwise, we are bound to

adhere to decisions of its intermediate courts.” Id. (citing Polskie Linie Oceaniczne v. Seasafe

Transp. A/S, 795 F.2d 968, 970 (11th Cir. 1986)).

       “[A] federal court sitting in Florida must conduct a two-step inquiry to determine whether

it has personal jurisdiction over a non-resident defendant: ‘(1) whether personal jurisdiction exists

over the nonresident defendant . . . under Florida’s long-arm statute, and (2) if so, whether that

exercise of jurisdiction would violate the Due Process Clause of the Fourteenth Amendment to the

U.S. Constitution.’” Hard Candy, LLC v. Hard Candy Fitness, LLC, 106 F. Supp. 3d 1231, 1237

(S.D. Fla. 2015) (alteration in original) (citing Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d

1339, 1350 (11th Cir. 2013)).

       Under Florida law, the plaintiff bears the burden of proving personal jurisdiction, but the

defendants can raise meritorious challenges to the plaintiff’s allegation of personal jurisdiction

through affidavits, documents or testimony. See Sculptchair, Inc., 94 F.3d at 627. The burden




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        The Fair Labor Standards Act (“FLSA”), under which Plaintiff purports to establish subject
matter jurisdiction does not provide for nationwide service of process. See Aviles v. Kunkle, 978
F.2d 201, 203 (5th Cir. 1992) (holding that where a federal statute, like the FLSA is silent as to
service of process, the Court will not infer nationwide service of process and personal jurisdiction
must be determined by the state’s long-arm statute); see also Chavira v. OS Rest. Services, LLC,
18-CV-10029-ADB, 2019 WL 4769101, at *3 (D. Mass. Sept. 30, 2019) (“Where, as here,
nationwide service of process is not authorized by the statute -- the FLSA -- ‘service is effective
only if the defendant is subject to jurisdiction in the forum state.’”); Wang v. Schroeter, CIV.A.
11-10009-RWZ, 2011 WL 6148579, at *4 (D. Mass. Dec. 9, 2011), aff'd (Dec. 11, 2012) (same).
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then shifts back to the plaintiff to prove jurisdiction by affidavits, testimony or documents. Id.

When a defendant challenges personal jurisdiction, the plaintiff must “prove—not merely allege—

jurisdiction by affidavits, testimony, or other documents.” Hard Candy, 106 F. Supp. 3d at 1238

(citing Posner v. Essex Ins. Co., 178 F.3d 1209, 1214–15 (11th Cir. 1999); Future Tech. Today,

Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1249 (11th Cir. 2000)).

       “The Florida long-arm statute recognizes two kinds of personal jurisdiction over a

nonresident defendant: specific and general jurisdiction.” Hard Candy, 106 F. Supp. 3d at 139

(citing Fla. Stat. § 48.193). The application of the Florida long-arm statute is a question of Florida

law and must be construed in the manner the Florida Supreme Court would. Louis Vuitton, 736

F.3d at 1352. “Florida’s long-arm statute is to be strictly construed.” Id. (citing Sculptchair, Inc.,

94 F.3d at 627).

       B. Plaintiffs Fail to Establish a Prima-Facie Case of Personal Jurisdiction Over Al
          Anabi

       At minimum, Plaintiffs are required to allege a sufficient basis for a prima-facie showing

that personal jurisdiction exists—they fail to do so. See Abramson, 132 Fed. Appx. at 275 (11th

Cir. 2005). The Court can dismiss the Amended Complaint because Plaintiffs fail to meet even

this most-basic requirement. The Amended Complaint is devoid of jurisdictional facts that

could—even when interpreted in the light most favorable to the Plaintiffs—provide a colorable

basis commensurate with the requirements under Federal and Florida law to establish specific or

general jurisdiction. Given this fatal failure, the Court need not even analyze Florida’s long-arm

statute. See Castillo v. Allegro Resort Mktg., 603 Fed. Appx. 913, 916 (11th Cir. 2015) (holding

that “[b]ecause [Plaintiff] failed to plead allegations sufficient to satisfy due process, we need not

address personal jurisdiction under Florida’s long-arm statute.”). In Castillo, the Eleventh Circuit

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held that conclusory, jurisdictional allegations are insufficient to establish a prima-facie case of

personal jurisdiction. Castillo, 603 Fed. Appx. at 916. As a threshold matter, the conclusory

allegations in the Amended Complaint simply cannot comport with due-process requirements. See

id. With that said, under an analysis of the requirements to establish personal jurisdiction under

Florida’s long-arm statute, Plaintiffs’ jurisdictional efforts concerning Al Anabi would fare no

better for specific or general jurisdiction.

        C. Plaintiffs Fail to Meet Their Burden of Demonstrating Specific Jurisdiction Over
           Al Anabi Under Florida’s Long-Arm Statute

        To allege specific jurisdiction under Florida’s long-arm statute, Plaintiffs’ claims must

arise from Al Anabi’s contacts with Florida, and those contacts must fall within one of nine

statutorily-enumerated categories. See Hard Candy, 106 F. Supp. 3d at 1239 (citing Fla. Stat.

§ 48.193(1)(a)).

        Plaintiffs do not allege that their claims arise from Al Anabi’s contacts with Florida or that

those contacts fall within any of the categories set forth in Florida’s long-arm statute. Indeed, the

Amended Complaint does not include any allegations about Al Anabi’s contacts with Florida—

much less any allegations that Al Anabi engaged in specific conduct enumerated in Florida’s long-

arm statute. The Amended Complaint does not even reference Florida’s long-arm statute. Because

of these stark pleading failures, Plaintiffs cannot meet their burden of establishing a prima-facie

case for specific jurisdiction over Al Anabi. See e.g., Pace v. Platt, No. 3:01-CV-471/LAC, 2002

WL 32098709 (N.D. Fla. Sept. 10, 2002), aff'd, 67 F. App'x 584 (11th Cir. 2003) (holding that

dismissal for lack of jurisdiction is appropriate where the “[p]laintiff has utterly failed to allege

any facts showing that the individual Defendants are subject to jurisdiction in this state” or

“demonstrate how the alleged tortious conduct of which he complains ‘arises from’ the individual


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Defendants’ contacts with Florida.” (citations omitted)); see also Sculptchair, Inc., 94 F.3d at 629

(holding “that mere economic injury without accompanying personal injury or property injury does

not confer personal jurisdiction over nonresident defendants” under injury to persons or property

provision of Florida’s long-arm statute).      Because Plaintiffs have not made the requisite

allegations, this Court does not have specific jurisdiction over Al Anabi.

       D. Plaintiffs Fail to Meet Their Burden of Demonstrating General Jurisdiction Over
          Al Anabi Under Florida’s Long-Arm Statute

       Similarly, Plaintiffs fail to meet the much more stringent requirements for general

jurisdiction. To establish general jurisdiction, a court’s jurisdiction to adjudicate claims that do

not arise from the defendant’s conduct with the forum state, “there is no requirement of a

connection between the defendant’s activities and the cause of action, the Due Process

requirements are much more stringent for general personal jurisdiction than for specific personal

jurisdiction.” Exhibit Icons, LLC v. XP Companies, LLC, 609 F. Supp. 2d 1282, 1295 (S.D. Fla.

2009) (emphasis added).3

       Al Anabi is not incorporated in Florida and does not maintain its principal place of business

in Florida. Greenbaum Dec. ¶¶5, 6. Daimler AG v. Bauman, 571 U.S. 117, 137 (2014) (holding

that a corporation’s place of incorporation and principal place of business are the paradigm bases

for general jurisdiction). Absent a defendant choosing Florida as its home state, which Al Anabi

has not, a plaintiff must show significant contact with the forum state. “While corporations may

be subject to the exercise of general jurisdiction in other places[,] … the Due Process Clause




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        “The reach of general jurisdiction under the Florida long-arm statute ‘extends to the limits
on personal jurisdiction imposed by the Due Process Clause of the Fourteenth Amendment.’”
Hard Candy, 106 F. Supp. 3d at 1250 (quoting Fraser v. Smith, 594 F.3d 842, 846 (11th Cir.
2010)).
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imposes a high standard: ‘the inquiry ... is not whether a foreign corporation’s in-forum contacts

can be said to be in some sense ‘continuous and systematic,’ it is whether that corporation's

affiliations with the State are so ‘continuous and systematic’ as to render [it] essentially at home

in the forum State.’” Hard Candy, 106 F. Supp. 3d at 1250 (quoting Daimler, 571 U.S. at 138-

139).

        Plaintiffs have not alleged and cannot establish that Al Anabi’s affiliations with Florida are

“so continuous and systematic as to render it essentially at home” here. Id. Al Anabi does not

have any affiliates, related business entities, beneficiaries, subsidiaries, successors, successors-in-

interest, agents, or assignees in Florida (Greenbaum Dec. ¶ 11); Al Anabi has not designated an

agent in Florida for service of process (Greenbaum Dec. ¶ 12); Al Anabi does not own, lease or

control real property in Florida (Greenbaum Dec. ¶ 13); Al Anabi has no office or operations or

facilities in Florida (Greenbaum Dec. ¶ 14); Al Anabi has no licenses or certifications in Florida

(Greenbaum Dec. ¶ 15); Al Anabi has had no litigation in Florida prior to this case (Greenbaum

Dec. ¶ 16); Al Anabi has had no phone or fax listings with a Florida number (Greenbaum Dec. ¶

17); Al Anabi has never had officers or directors located in Florida (Greenbaum Dec. ¶ 18); Al

Anabi has no bank accounts in Florida, nor has it taken loans from there (Greenbaum Dec. ¶ 19);

Al Anabi does not pay or owe taxes in Florida (Greenbaum Dec. ¶ 20); Al Anabi’s corporate

decision-making and strategy is—and always has been—developed outside of Florida (Greenbaum

Dec. ¶ 21); Al Anabi has no contracts with Florida-based entities or persons (Greenbaum Dec.

¶22); Al Anabi does not register or maintain any of its property in Florida (Greenbaum Dec. ¶ 24);

and Al Anabi has no employees in Florida (Greenbaum Dec. ¶ 25).

        In short, Plaintiffs allege no facts to establish—even when reviewed in the light most

favorable to them—that Al Anabi is “essentially at home” in Florida. See e.g. Virgin Health Corp.

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 v. Virgin Enterprises Ltd., 393 F. App'x 623, 626 (11th Cir. 2010) (holding that no general

 jurisdiction where company “has no office, employees, real property, bank account, mailing

 address, or telephone number in Florida; and that it has not engaged in business or made any

 contracts in Florida.”); Hard Candy, 106 F. Supp. 3d at 1251-52 (finding no general jurisdiction

 over defendant who was alleged to have earned almost $4 million in connection with three concerts

 performed in Florida and conceded to earnings of more than $250,000 in royalties from goods sold

 in Florida); Aronson v. Celebrity Cruises, Inc., 30 F. Supp. 3d 1379, 1386–87 (S.D. Fla. 2014)

 (holding no general jurisdiction over defendant corporation whose co-owner and marketing

 director travels to Florida each year to attend an industry conference and meet with business

 partners, submits bids to Florida-based ship operators, bought equipment in Florida, purchased

 insurance through a Miami-based insurance broker, and was a member of a Florida-based trade

 organization); Ash v. Royal Caribbean Cruises Ltd., 991 F. Supp. 2d 1214, 1218 (S.D. Fla. 2013)

 (holding that defendant’s “minimal contacts with Florida are not sufficiently systematic and

 continuous to confer jurisdiction under § 48.193(2)”).4 In sum, Al Anabi’s “home” is not in Florida

 and this Court does not have general jurisdiction over Al Anabi.

                                           CONCLUSION

        For the foregoing reasons, the Court should dismiss Plaintiffs’ Amended Complaint

 pursuant to Federal Rules of Civil Procedure 12(b)(2).

 Dated: January 2, 2020




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         Because Plaintiffs have not and cannot meet their burden of establishing personal
 jurisdiction under Florida’s long-arm statute, it follows a fortiori that they cannot demonstrate that
 the exercise of jurisdiction complies with the Due Process clause.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 2, 2020, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF on all counsel or parties of record on the Service List.




                                          By: /s/ Armando Rosquete
                                               Armando Rosquete




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